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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-mj-586 (ZMF)
RAFAEL RONDON, and : VIOLATIONS:
: 18 U.S.C. §§ 1512(c)(@2), 2
MARYANN MOONEY-RONDON, : (Obstruction of an Official Proceeding)
: 18U,S.C. §§ 641, 2
Defendants. : (Theft of Government Property)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

40 U.S.C. § 5104(e)(2)(C)

(Entering and Remaining in Certain
Rooms in the Capitol Building)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, RAFAEL

RONDON and MARYANN MOONEY-RONDON attempted to, and did, corruptly obstruct,
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influence, and impede an official proceeding, that is, a proceeding before Congress, specifically,
Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment of the
Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, RAFAEL RONDON and
MARYANN MOONEY-RONDON did embezzle, steal, purloin, knowingly convert to his use
and the use of another, and without authority, sold, conveyed and disposed of any record, voucher,
money and thing of value of the United States and any department and agency thereof, that is,
TWO ILC DOVER SCAPE CBRN30 ESCAPE HOODS WITH SATCHELS, which have a
value of less than $1000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, RAFAEL RONDON and
MARYANN MOONEY-RONDON did embezzle, steal, purloin, knowingly convert to his use
and the use of another, and without authority, sold, conveyed and disposed of any record, voucher,
money and thing of value of the United States and any department and agency thereof, that is,
ONE HEWLETT-PACKARD LAPTOP COMPUTER LOCATED IN THE OFFICES OF
A MEMBER OF THE U.S. CONGRESS, which has a value of less than $1000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641 and 2)

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, RAFAEL RONDON and
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MARYANN MOONEY-RONDON did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was temporarily visiting, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, RAFAEL RONDON and
MARYANN MOONEY-RONDON did knowingly, and with intent to impede and disrupt the
orderly conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, RAFAEL RONDON and
MARYANN MOONEY-RONDON willfully and knowingly entered and remained in the gallery
of either House of Congress, without authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, RAFAEL RONDON and

MARYANN MOONEY-RONDON willfully and knowingly, and with the intent to disrupt the
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orderly conduct of official business, entered and remained in a room in any of the Capitol Buildings
set aside and designated for the use of either House of Congress and a Member, committee, officer,
and employee of Congress, and either House of Congress, and the Library of Congress, without
authorization to do so.

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(C))

COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, RAFAEL RONDON and
MARYANN MOONEY-RONDON willfully and knowingly engaged in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capitol Buildings
with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and
either House of Congress, and the orderly conduct in that building of a hearing before or any
deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT NINE
On or about January 6, 2021, in the District of Columbia, RAFAEL RONDON and
MARYANN MOONEY-RONDON willfully and knowingly paraded, demonstrated, and
picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

M" ofa.) Nz rovers
Attorney of the Urtited StateS in

and for the District of Columbia.
